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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.                                                                       No. CR-03-2112 MV

 JORGE TORRES-LARANEGA, et al.,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Jorge Torres-Laranega’s Motion to

Suppress Statements and Evidence [Doc. No. 304], filed September 15, 2004, and Defendant Jose

Francisco Diaz’s Notice of Joinder [Doc. No. 323], filed October 5, 2004. The Court, having

considered the motions, briefs, relevant law and being otherwise fully informed, finds that Torres-

Laranega’s Motion to Suppress Statements and Evidence is not well taken and will be DENIED.

                                        BACKGROUND

       Torres-Laranega testified that, on the morning of November 19, 2003, he was having

breakfast with his father, Romualdo Torres-Duarte, when Yolanda Alarcon, who is the confidential

informant in this case, called and asked him to meet her and her son, Guillermo Verdugo, in El Paso.

According to Torres-Laranega, he and his father went to downtown El Paso and met Alarcon and

Verdugo on the street. Also according to Torres-Laranega, Alarcon dialed her cell phone and asked

Torres-Laranega to take the telephone and talk to Jose Francisco Diaz. Torres-Laranega testified

that he told her to hang up, which she did.

       According to Torres-Laranega, as he, his father, Alarcon and Verdugo were walking down

the street, several unmarked vehicles and an El Paso police vehicle stopped around them and
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individuals who were not in uniform and did not identify themselves came out of the cars, pointed

guns at them and told them to get on the ground. Torres-Laranega testified that he was asked to get

up and lift his shirt and pants leg and then was handcuffed and thrown to the ground. Torres-

Laranega also testified that he saw his father take out his medication so the officers could search his

stomach area and then be placed in handcuffs and thrown to the ground.

       According to Torres-Laranega, the officers directed him to sit on the sidewalk where he

waited for approximately twenty or twenty five minutes until an FBI agent arrived. Also according

to Torres-Laranega, his father, too, was sitting on the sidewalk but they were not allowed to talk to

each other. Torres-Laranega testified that he was concerned for his father because he suffers from

“many illnesses” including heart condition and diabetes. Special Agent Rene Medina testified that

Torres-Laranega’s arrest occurred at 10:45 a.m. Agent Medina also testified that Torres-Laranega’s

father, who by his own admission was illegally in the United States, was not actually arrested by the

FBI but rather was detained and turned over to the Border Patrol.

       Torres-Laranega testified that he, his father, Alarcon and Verdugo were transported in

separate cars to the El Paso FBI office and that, once they arrived at the FBI office, each was

escorted to a separate room. Torres-Laranega testified that he did not know exactly where his father

was being held but that he could hear him coughing. Torres-Laranega testified that he waited in a

room where he was handcuffed to a wall for approximately one hour, at which time Agent Medina

entered the room, told him that he wanted to speak with him right away and that he was going to take

him to another room.

       According to Torres-Laranega, Agent Medina returned ten minutes later with Agent Brian

Nishida and took him to an office across the hall. Torres-Laranaga testified that Agent Medina first


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told Torres-Laranega that if he would call Diaz and tell him to go to a certain place where agents

would then go and arrest him, the agents would release his father. According to Torres-Laranega,

when he refused, Agent Medina told him that they also had Rebecca Ramirez-Torres in custody and

that they would release her if he called Diaz.

       Torres-Laranega testified that, at that point, Agent Medina read him his Miranda rights in

Spanish and asked if he understood what he had just read. Torres-Laranega testified that he replied

that he did understand. In addition, Torres-Laranega testified that he himself read aloud the waiver

of rights provision on the advice of rights form and then signed it. Torres-Laranega testified that he

signed the waiver of rights because he believed that the agents would release his father if he did so.

In addition, Torres-Laranega testified that he felt responsible to sign it because the most important

thing to him was for his father to be released.

       According to Torres-Laranega, at that point, the agents had not informed him of the charges

against him or that he had been indicted. Torres-Laranega, however, did testify that the agents played

for him a telephone call that involved a drug load that was seized at the Las Cruces border patrol

checkpoint. According to Torres-Laranega, Agent Ida D’Antonio joined the interview after he had

signed the waiver.

        Initially, Torres-Laranega testified that he did not know that he did not have to talk to the

agents. Later, however, Torres-Laranega twice testified that he understood the rights set forth in the

waiver provision. Torres-Laranega also testified that he understood that he had the right to have an

attorney present when he was being questioned.

       Agent Medina testified that, at 1:15 p.m., he and Agent Nishida brought Torres-Laranega into

an office to interview him and that the interview was conducted in Spanish. Agent Medina testified


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that, once they determined that Torres-Laranega primarily spoke Spanish, Agent Ida D’Antonio

joined the interview. According to Agent Medina, this happened before Torres-Laranega was read

his rights. Agent Medina testified that he gave Torres-Laranega a brief summary of the investigation,

including the surveillance the agents had conducted and the recordings made of him, and advised him

that he was being charged with a conspiracy charge regarding the transportation of marijuana.

Further, Agent Medina testified that he told Torres-Laranega that the agents were going to ask him

questions. At that point, Agent Medina testified, he advised Torres-Laranega of his Miranda rights

by reading those rights in Spanish from an advice of rights form. Agent Medina testified that he then

asked Torres-Laranega to read aloud the waiver of rights provision at the bottom of the advice of

rights form. According to Agent Medina, Torres-Laranega read the provision aloud in Spanish and

told the agents that he was aware of his rights. Agent Medina further testified that he then asked

Torres-Laranega if he understood that anything he said could and would be used against him in a

court of law and that Torres-Laranega responded that he was aware of that. Torres-Laranega then

signed the waiver of rights provision.

       Agent Medina testified that, during the interview, Torres-Laranega was not handcuffed, he

was given something to eat and drink and was given an opportunity to use the restroom as needed.

Further, Agent Medina testified that he was armed but did not display his weapon during the

interview and that he did not threaten Torres-Laranaga or make any promises to him. Torres-

Laranega testified that the agents treated him well.

       According to Torres-Laranega, the interview lasted for no longer than an hour. According

to Agent Medina, the interview lasted approximately one and one-half hours. After the interview,

Torres-Laranega testified that he was brought back to the room he was in before the interview.


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Torres-Laranega testified that the agents did not inform him of what was happening to his father.

According to Torres-Laranega, he did not see his father again until he was taken out of the room and

transported to the Dona Ana Detention Center at approximately 8:00 p.m. or 9:00 p.m. Agent

Medina testified that, after the interview, Torres-Laranega was transported to a detention facility

where he was held until his initial appearance before a Magistrate Judge.

       On September 15, 2004, Torres-Laranega filed the instant motion seeking to suppress

statements and evidence derived from his November 19, 2003 interview. The government filed a

response in opposition on September 22, 2004. The Court held an evidentiary hearing on October

6, 2004. At the conclusion of the hearing, the Court took the motion under advisement. On October

15, 2004, the government filed a motion to supplement the record.

                                          DISCUSSION

       First, Torres-Laranega argues that his statement was obtained in violation of his Sixth

Amendment rights. In support of this argument, Torres-Laranega states that, after he was indicted,

he was arrested by FBI agents who deliberately took him to the El Paso FBI office rather than taking

him directly to a detention center with the sole purpose of eliciting a statement from him in the

absence of counsel. As a result of the interview, the government obtained statements and evidence

concerning his alleged drug trafficking organization and other loads he had previously transported

for other individuals.

       Next, Torres-Laranega argues that his statement was obtained in violation of his Fifth

Amendment rights. Specifically, Torres-Laranega claims that the totality of the circumstances

surrounding his arrest and FBI interview demonstrates that his Miranda waiver was not voluntary




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but rather was the product of coercion by the government. As set forth herein, the Court disagrees

with both of Torres-Laranega’s arguments.

I.        Waiver of Sixth Amendment Right

          The Supreme Court has held “that an accused is denied ‘the basic protections’ of the Sixth

Amendment ‘when there [is] used against him at his trial evidence of his own incriminating words,

which federal agents . . . deliberately elicited from him after he had been indicted and in the absence

of his counsel.” Fellers v. United States, 124 S. Ct. 1019, 1022 (2004) (citations omitted). The

Sixth Amendment, however, does not bar the police from initiating an interview with a defendant

once he has been indicted and his Sixth Amendment right to counsel attaches. Rather, as the

Supreme Court held in Patterson v. Illinois, 487 U.S. 285 (1988), even post-indictment, a

defendant’s right to counsel means only that if he or she wants the assistance of counsel, the

authorities’ interview with him or her must stop and further questioning is forbidden unless the

defendant calls for such a meeting. See id. at 291. The Supreme Court concluded that “[if] an

accused ‘knowingly and intelligently’[decides to answer questions without the aid of counsel], we

see no reason why the uncounseled statements he then makes must be excluded at his trial.” Id.

          In Patterson, the Supreme Court resolved the issue of what constitutes an adequate waiver

of the Sixth Amendment right to counsel. The Supreme Court rejected the petitioner’s argument that

questioning him without counsel present violated the Sixth Amendment because he did not validly

waive his right to have counsel present during interviews with law enforcement. The Supreme Court

stated:

          Since it is clear that after the Miranda warnings were given to petitioner, he not only
          voluntarily answered questions without claiming his right to silence or his right to
          have a lawyer present to advise him but also executed a written waiver of his right to


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       counsel during questioning, the specific issue posed here is whether this waiver was
       a “knowing and intelligent” waiver of his Sixth Amendment right.

Id. at 292. The Supreme Court answered this question in the affirmative, holding that “an accused

who is admonished with the warnings prescribed by this Court in Miranda has been sufficiently

apprised of the nature of his Sixth Amendment rights, and of the consequences of abandoning those

rights, so that his waiver on this basis will be considered a knowing and intelligent one.” Id. at 296.

Moreover, the Supreme Court held:

       Once it is determined that a suspect’s decision not to rely on his rights was uncoerced,
       that he at all times knew he could stand mute and request a lawyer, and that he was
       aware of the State’s intention to use his statements to secure a conviction, the analysis
       is complete and the waiver is valid as a matter of law.

Id. at 297 (citation omitted).

       Accordingly, in order to determine whether Torres-Laranega’s Sixth Amendment rights were

violated, the Court must determine whether he was advised of his Miranda rights and whether he

validly waived those rights before giving his statement to the FBI agents. The validity of Torres-

Laranega’s waiver of his Miranda rights is discussed below.

II.    Waiver of Fifth Amendment Right

       Miranda requires that procedural safeguards be administered to a criminal suspect prior to

“custodial interrogation.” Miranda v. Arizona, 384 U.S. 436 (1966). A defendant’s statements

cannot be used against him unless the government shows that he voluntarily, knowingly and

intelligently waived his Miranda rights. See Moran v. Burbine, 475 U.S. 412, 421 (1986). The

government bears the burden of proving a valid waiver by a preponderance of the evidence. See

Colorado v. Connelly, 479 U.S. 157, 168 (1986).




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       The Supreme Court has held that the Court’s inquiry into the validity of a waiver of Miranda

rights has two dimensions:

       First, the relinquishment of the right must have been voluntary in the sense that it was
       the product of a free and deliberate choice rather than intimidation, coercion, or
       deception. Second, the waiver must have been made with a full awareness of both the
       nature of the right being abandoned and the consequences of the decision to abandon
       it. Only if “the totality of the circumstances surrounding the interrogation” reveal
       both an uncoerced choice and the requisite level of comprehension may a court
       properly conclude that the Miranda rights have been waived.

Moran, 475 U.S. 412, 421 (1986). A determination of whether the waiver of Miranda rights is

voluntary, knowing and intelligent thus is based on the totality of the circumstances. Under this

approach, the Court must examine “several factors including the characteristics of the suspect, such

as his [or her] age, intelligence, and education, and the details of the interrogation, such as whether

the suspect was informed of his [or her] rights, the length of the detention and the interrogation, and

the use or threat of physical force.” United States v. Nguyen, 155 F.3d 1219, 1222 (10th Cir. 1998),

cert. denied, 525 U.S. 1167 (1999). “An express written or oral statement or waiver by a defendant

of his right to remain silent or of the right to legal assistance of counsel, though not conclusive, is

‘usually strong proof of validity of that waiver.’” United States v. Hack, 782 F.2d 862, 866 (10th Cir.

1986) (citation omitted), cert. denied, 476 U.S. 1184 (1986).

       In the instant case, Torres-Laranega was interviewed by FBI agents on the afternoon of

November 19, 2003, after he was arrested that morning. The undisputed facts demonstrate that,

before Torres-Laranega made any incriminating statements, Agent Medina read Torres-Laranega his

Miranda rights in Spanish, Torres-Laranega indicated that he understood his rights, Torres-Laranega

himself read aloud the waiver of rights provision and Torres-Laranega signed the waiver of rights

provision. Torres-Laranega twice testified that he understood the rights set forth in the waiver


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provision and that he understood that he had the right to have an attorney present when he was being

questioned. The undisputed evidence also demonstrates that: Torres-Laranega has had nine years

of education and can read Spanish; the interview lasted between one hour and one and one-half hours;

during the interview, Agent Medina did not display his weapon; and during the interview, Torres-

Laranega was not handcuffed, was given something to eat and drink, was given an opportunity to use

the restroom as needed and was generally treated well.

        In dispute is whether Agent Medina informed Torres-Laranega before he read him his

Miranda rights of the charges against him. Agent Medina testified that he gave Torres-Laranega a

brief summary of the investigation, including the surveillance the agents had conducted and the

recordings made of him, and advised him that he was being charged with conspiracy regarding the

transportation of marijuana. According to Torres-Laranega, at the point when he was read his rights,

he had not been informed of the charges against him or that he had been indicted. Torres-Laranega,

however, did testify that the agents played for him a telephone call that involved a drug load that was

seized at the Las Cruces border patrol checkpoint.

        Also in dispute is whether Agent Medina promised Torres-Laranega that, if he signed the

waiver, the FBI would release his father. Agent Medina testified that he made no promises or threats

to Torres-Laranega. In contrast, Torres-Laranega testified that he believed that the agents would

release his father if he signed the waiver.

        Based on Torres-Laranega’s version of the disputed facts, he argues that the waiver of his

Miranda rights was coerced by the arresting and the interviewing agents. According to Torres-

Laranega, the agents purposely chose to arrest his father along with him so that Torres-Laranega

would have no choice but to agree to waive his rights and make a statement. Moreover, Torres-


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Laranega argues, there was no reason to arrest his father, who had not been charged with a crime,

other than for the purpose of coercing Torres-Laranega into waiving his rights and providing the

agents with information to further their investigation. Finally, Torres-Laranega argues that the fact

that he was not shown an arrest warrant or his indictment before his waived his rights demonstrates

that his waiver was not knowing and voluntary.

       Even assuming that Torres-Laranega’s version of the facts is accurate, the Court is not

persuaded that the waiver of his Miranda rights was not knowing and voluntary. Torres-Laranega’s

testimony establishes that he knew what it meant to waive his rights and that he made a conscious

choice to do so. The fact that he made that choice in order to facilitate his father’s release does not

suggest that the choice was unintelligently or involuntarily made. To the contrary, Torres-Laranega’s

own testimony demonstrates that he intelligently and voluntarily decided that it was more important

to have his father released than to remain silent.

       Moreover, the fact that Torres-Laranega’s decision was motivated by his belief that the FBI

would release his father if he waived his rights and made a statement does not rise to the level of

government coercion. In United States v. Glover, 104 F.3d 1570 (10th Cir. 1997), the defendant had

testified at the suppression hearing that she made a conscious decision to cooperate with law

enforcement because she wanted to help her co-defendant and be allowed to see him. The Tenth

Circuit held that “[t]hese types of personal psychological pressures do not amount to official coercion

rendering a confession involuntary.” Id. at 1580.

       Finally, the fact that Agent Medina may not have advised Torres-Laranega of the charges

against him before he read him his Miranda rights is not determinative of whether his waiver was

knowing, intelligent and voluntary. Rather, the Court must examine all of the factors, most of which


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are undisputed here, including Torres-Laranega’s age, intelligence and education, the details of the

interrogation and the fact that Torres-Laranega made an express written waiver of his rights. Taking

into consideration all of these factors, the Court finds that the totality of the circumstances

demonstrates that Torres-Laranega’s waiver was voluntary, knowing and intelligent.

                                           CONCLUSION

         The Court finds that Torres-Laranega’s waiver of his Miranda rights was knowing, voluntary

and intelligent. For this reason, his statement was not obtained in violation of either his Sixth

Amendment rights or his Fifth Amendment rights. Accordingly, there is no basis to suppress his

statement.

         IT IS THEREFORE ORDERED that Defendant Jorge Torres-Laranega’s Motion to

Suppress Statements and Evidence [Doc. No. 304] is hereby DENIED.

         Dated this 22nd day of November, 2004.




                                               MARTHA VÁZQUEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE

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